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                                                      The Honorable Ronald B. Leighton




                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA


UNITED STATES OF AMERICA             )
                                     )    NO. CR04-5337RBL
                  Plaintiff,         )
                                     )    ORDER CONTINUING TRIAL
            vs.                      )    DATE
                                     )
CARLOS ORTUNO RIVAS,                 )
                                     )
                  Defendant.         )
__________________________________________________________________________

       THIS MATTER comes on before the Court on the motion to continue the trial date

raised by counsel for defendant CARLOS ORTUNO RIVAS The defendant’s counsel having

agreed to the continuance as well as counsel for the government, the court finds that:

       1. The trial in this matter is scheduled for September 19, 2005, at 9:00 a.m. The pretrial

cut off date was set had passed at the time of appointment of new counsel.

       2. Discovery was not received until August 31, 2005, there is a need for substantial

investigation. Counsel will need time to prepare for trial and the Government’s counsel agrees

that to be adequately prepared, the trial date and the pre-trial motions date and conference dates

should be extended.

       3. The defendant understands that to be adequately represented that a continuance is

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necessary.

        4. The government consents to the continuance.

        5. The ends of justice outweigh the best interests of the public and the defendant to a

speedy trial. Failure to grant the continuance would deny counsel for Defendant’s adequate

time to effectively prepare for trial.

        For all the foregoing reasons, IT IS HEREBY ORDERED that the trial date is continued

from September 19, 2005 to DECEMBER 12, 2005 at 9:30 a.m.

        It is further ORDERED that the pre-trial motion cutoff date is now October 17, 2005

and the Pretrial Conference date is now scheduled for DECEMBER 6, 2005 at 9:00 a.m.


        IT IS SO ORDERED this 9th day of September, 2005.

                                               A
                                               RONALD B. LEIGHTON
                                               UNITED STATES DISTRICT JUDGE
                                               Digitally signed upon oral authorization (JAB)

        .




        Presented by:____________________________
        ROGER A. HUNKO
        ATTORNEY FOR Carlos Ortuno-Rivas




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